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AO 245D-CAED(Rev. 11/2016) Sheet 1 - Judgment in a Criminal Case for Revocation



                            UNITED STATES DISTRICT COURT
                                                Eastern District of California
                UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
                           v.
                      FRED PINEDA                                             Criminal Number: 2:11CR00134-012
                                                                              Defendant's Attorney: Hanna Labaree, Assistant Federal Defender
THE DEFENDANT:
      admitted guilt to violation of charge(s) 1, 2, and 3 as alleged in the violation petition filed on 2/16/2017 .
      was found in violation of condition(s) of supervision as to charge(s)             after denial of guilt, as alleged in the violation petition
      filed on   .

The defendant is adjudicated guilty of these violations:
Violation Number                  Nature of Violation                                                            Date Violation Occurred
1                                     Failure to abstain from alcohol                                            1/21/2017
2                                     Failure to obey all laws                                                   1/21/2017
3                                     Failure to report law enforcement contact within 72 hours.                 1/21/2017

The                                              continues under same conditions of supervision with two additional conditions heretofore
                 revokes:       modifies:
court:                                           ordered on 6/20/2017 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

      Charge(s)     4 is/are dismissed.

         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        It is ordered that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.
                                                                             6/20/2017
                                                                             Date of Imposition of Sentence
                                                                             /s/ John A. Mendez
                                                                             Signature of Judicial Officer
                                                                             John A. Mendez, United States District Judge
                                                                             Name & Title of Judicial Officer
                                                                             6/21/2017
                                                                             Date
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AO 245-CAED(Rev. 11/2016) Sheet 3 - Supervised Release
DEFENDANT:FRED PINEDA                                                                                                           Page 2 of 2
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                                          SPECIAL CONDITIONS OF SUPERVISION
1.       The defendant shall be monitored for a period of 3 months, with location monitoring technology, which may include the use
         of radio frequence (RF) or Global Positioning System (GPS) devices, at the discretion of the probation officer. The defendant
         shall abide by all technology requirements and shall pay the costs of location monitoring based upon his ability to pay as
         directed by the probation officer.
         In addition to other court-imposed conditions of release, the defendant's movement in the community shall be restricted as
         follows: The defendant is restricted to his residence at all times except for employment, education, religious services, medical
         appointments, substance abuse or mental health treatment, attorney visits, court appearances, court-ordered obligations or
         other activities pre-approved by the probation officer.
2.       The defendant shall not drive unless legally licensed and insured pursuant to the requirements of the California Department of
         Motor Vehicles (DMV)
